      5:21-cv-00884-BHH            Date Filed 10/06/21   Entry Number 14     Page 1 of 1




                             UNITED STATES DISTRICT COURT
                              DISTRICT OF SOUTH CAROLINA
                                 ORANGEBURG DIVISION

DEBBIE OWENS,                                 ) Civil Action No. 5:21-cv-00884-BHH-KDW
                                              )
                      Plaintiff,              )
               v.                             )
                                              )
KILOLO KIJAKAZI,                              )
Acting Commissioner of the                    )
Social Security Administration,               )
                                              )
                      Defendant.              )

                                             ORDER

       Upon consideration of Defendant’s Motion to Remand, which Plaintiff does not oppose, it

is hereby ORDERED that Defendant’s motion is granted, and this action is remanded to the

Commissioner for further evaluation under the fourth sentence of 42 U.S.C. § 405(g).




                                              /s/Bruce H. Hendricks
                                              United States District Judge
October 6, 2021
Charleston, South Carolina
